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DNJ-CR-023 Order Regarding Use of Video/Teleconferencing for Felony Proceedings (Rev. 10/2021)
_________________________________________________________________________________________________________________________

                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA         *
                                 *
    v.                           *       CRIM. NO. 19-928 (FLW)
                                 *
DEQUAN COPELAND                  *
                                 *
                               *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
               FOR FELONY PLEAS AND/OR SENTENCINGS
        In accordance with the operative COVID-19 standing orders, this Court finds:

   ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

          That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:
SEE EXHIBIT ATTACHED HERETO




Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔
            Video Teleconferencing

            Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:
                     The Defendant (or the Juvenile) is detained at a facility lacking video

         teleconferencing capability.

                     Other:




Date:           March 7, 2022
                                                                        Honorable Freda L. Wolfson, Chief Judge
                                                                        United States District Judge
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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA            Honorable Freda L. Wolfson
                                      Crim. No. 19-928 (FLW)
                                      EXHIBIT TO ORDER REGARDING USE
                                      OF VIDEO
                    v.
                                      CONFERENCING/TELECONFERENCING
                                      FOR FELONY PLEAS AND/OR
                                      SENTENCINGS
  DEQUAN COPELAND



       The Court finds that the change of plea hearing to be held on March 7,
2022 cannot be further delayed without serious harm to the interests of
justice, for the following reasons:
      1. To ensure that the Court is not overwhelmed by cases and
         proceedings at the conclusion of this period of emergency. Currently,
         District Judges in New Jersey handle a substantially larger docket of
         cases than Judges in other Districts in the United States. New
         criminal cases continue to be assigned by the Court during the
         emergency. If the Court cannot resolve matters by guilty plea and
         sentencing, the resulting backlog will overwhelm the Court’s ability to
         effectively function. The concern of such congestion and the
         particular harm that likely will be caused by delays in the processing
         of cases and matters in the future is particularly acute in this
         emergency, at least given that: (1) it is unknown when this emergency
         will subside and when the Court will be able to function at normal
         capacity (including, among other things, the empanelment of trial
         juries) and (2) this District’s pre-existing shortage of District Court
         Judges which already has challenged the Court’s ability to process
         and resolve cases.
      2. To permit the defendant to obtain a speedy resolution of his case
         through an admission of guilt, and timely sentencing to afford
         appropriate punishment and rehabilitation. The defendant has asked
         for this case to be resolved today by guilty plea and for a subsequent
         timely sentencing. The Court is expected to have a substantial
         backlog of cases on its docket at the conclusion of this period of
         emergency. At this time, the Court cannot accurately predict where
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        the defendant’s case will be prioritized within that backlogged
        docket. As a result, the defendant’s interest in a speedy resolution of
        his case will be seriously harmed if the proceeding does not occur
        today.
     3. To permit the Government to obtain a resolution of the case so that
        the Government, already operating in a restricted capacity due to the
        emergency, may appropriately focus its resources on other, emerging
        criminal matters. The Government has asked for this case to be
        resolved today by guilty plea and for a subsequent timely sentencing.
     4. To obtain a resolution to the case prior to the end of the time afforded
        the Government to prosecute such case under the Speedy Trial Act.
